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                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW MEXICO

MICHAEL JOHNSON,                    )
                                    )
                        Plaintiff,  )
                                    )                 Case No. 1:21-cv-00294-KWR-KK
v.                                  )
                                    )
BANK OF AMERICA, INC.,              )
a Foreign Corporation,              )
                                    )
                        Defendant.  )
____________________________________)

             PLAINTIFFS’ OPPOSITION TO MOTION TO DISMISS

       COMES NOW Plaintiff, Michael Johnson, by and through his undersigned

attorney, and hereby responds in opposition to Defendant’s Motion to Dismiss [Doc. 5] as

follows:

                                       INTRODUCTION

       This matter arises out of a Truth and Lending Act, 15 U.S.C. § 1601, et seq.

(“TILA”) violation.    Defendant unilaterally made withdrawals of Plaintiffs’ deposit

account to allegedly “setoff” Plaintiffs’ debt on a separate credit card account. Defendant

claims that both accounts are solely business accounts, and therefore the plain language of

the contracts governing the deposit allow for the offset. Defendant’s claims in its Motion

to Dismiss rely entirely on the notion that Plaintiff’s account is a business account, and

therefore not subject to the consumer protections afforded by TILA, specifically under 15

U.S.C. § 1666h. Defendant fails to consider that Mr. Johnson is himself a joint user of the

account, and uses the account as a consumer account. Furthermore, Mr. Johnson has filed

this matter in his individual capacity, not under the Shockwave Defense, LLC also


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participates in the usage of the deposit account. Were any of Defendant’s arguments in his

Motion to Dismiss true, he would have also argued that Michael Johnson lacks standing to

bring an action individually under a “business account”.

                    RESPONSE TO FACTUAL BACKGROUND

       Defendant argues that the deposit account with Defendant ending in 2270 (“Deposit

Account”) is a business account, and that the credit card account with Defendant ending in

7091 is a business credit card account. (“Credit Card Account”) Defendant then attaches

exhibits containing boilerplate language with both the Deposit Account and the Credit Card

Account that contain stipulations whereby Defendant is supposedly allowed to offset

business debt. However, the “Right to Setoff” provision in Defendants Exhibit B of the

Motion to Dismiss clearly states that “[this] provision does not apply to… consumer credit

card obligations”. The exception is notably silent with respect to consumer credit cards

obligations on whatever Bank of America styles as a business account.

       Defendant next argues that the guarantor and security interest provisions are

identified by capitalized headings in bold font under the “Liability” section of the first

page, citing to Defendant’s Exhibit A of the Motion to Dismiss. 15 U.S.C. § 1666h, the

statute that prohibits offsetting against consumer funds, does not limit its consumer

protections to consumer debt that is styled by the Bank as a “business account”. The statute

prohibits the very same boilerplate language that Defendant is presenting in his Motion to

Dismiss from allowing the offsetting of consumer, except if the offsetting was authorized

in writing by the cardholder in accordance with a credit plan. No such credit plan exists.

       Defendant then states that Plaintiff failed to make periodic payments on the Credit

Card Account, so Defendant withdrew $35,160.84 from the Deposit Account to offset debt

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allegedly owned to Defendant. Defendant did in fact withdraw that amount, but they did

so against the consumer protections of TILA.

                                           ARGUMENT

       I.      Plaintiff’s TILA Claim is Valid

       Plaintiff’s TILA claim is not dependent upon what Bank of America decides to call

or categorize his accounts. Plaintiff’s Deposit Account and Credit Card Account are joint

accounts, held by Plaintiff and Shockwave Defense, LLC. There is no provision, and

Defendant fails to cite any, that allows an exemption of TILA’s consumer protection

prohibiting setoffs if the account is styled or categorized as a business account by the bank.

       Defendant argues that Plaintiff’s accounts are not a “consumer credit card

transaction”, citing to the provision 15 U.S.C. § 1666h that states in pertinent part, “[A]

card issuer may not take any action to offset a cardholder's indebtedness arising in

connection with a consumer credit transaction.” Defendant then argues that TILA defines

a “consumer” as “one in which the party to whom credit is offered to extended is a natural

person, and the money, property, or services which are the subject of the transaction are

primarily for personal, family, or household purposes.” 15 U.S.C. § 1602(i).

       Defendant further cites to a 15 U.S.C. § 1603(a) to state that credit transactions

extended for business or commercial purposes are exempt from TILA’s provisions.

However, 15 U.S.C. § 1603(a) does not exist. Perhaps Defendant erroneously cited the

statute, whose provisions are numbered only (1) through (7). Provision (1) does exempt

“credit transactions involving extensions of credit primarily for, inter alia, business or

commercial organizations. Defendant provides no definition for what an “extension of


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credit” means under TILA. TILA itself is silent on what an “extension of credit” means,

though it references the term twice in its definitions. It does not appear obvious that an

“extension of credit” necessarily means a credit card account, and it would be up to the

Plaintiff to properly define it for his arguments.

       Plaintiff is a natural person, and therefore his jointly owned Credit Card Account

is considered a consumer credit transaction under TILA. A "consumer credit transaction"

is defined in § 1602(h) as:

       "one in which the party to whom the credit is offered or extended is a natural
       person, and the money, property, or services which are the subject of the
       transaction are primarily for personal, family, or household purposes." 15
       U.S.C. § 1602(h) (emphasis added).
       Here, the credit under the Credit Card Account is offered and/or extended to

Michael Johnson and Shockwave Defense, LLC. Michael Johnson is a natural person.

Therefore, the protections against setoffs under TILA apply to the Credit Card Account.

       Moreover, TILA is completely silent on how its exemptions should apply to a joint

account between an individual and a business. The TILA notably does not define its

protections in terms of accounts but in terms of transactions. Plaintiff used the Credit Card

Account personally as a consumer, for most of the transactions on the account. While the

joint owner, Shockwave Defense LLC, also used the account for business expenses, those

transactions were few and limited. Attached as “Exhibit A” are three statements of the

Credit Card Account for the months of August 10, 2019- September 9, 2019, September

10, 2019- October 9, 2019, and October 10, 2019 through November 9, 2019, to illustrate

to the Court how the Credit Card Account was being used. For the month of August, for

example, Plaintiff makes payments for “The Man Clinic”, an anti-aging clinic located in


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California that Plaintiff used for his personal health. This is not and could not be a business

expense for a self-defense training company such as Shockwave Defense, LLC, who is the

other joint owner of the account. Other examples include:

           A. iTunes bills for Plaintiffs’ individual Apple Account. (All three statements)

           B. Restaurants and Cafes that the Plaintiff attended that were non-business

               dining.1, such as an August 15 dining at Cinnamon, Sugar, and Spice in

               Albuquerque, and an August 19, 2019 café visit to the Grove Café in

               Albuquerque.

           C. Fine art purchases such as the Mee Shim Fine Art in San Diego, CA on August

               19, 2019.

           D. Grocery expenses. Smiths Food in Albuquerque, August 23, 2019.

           E. Sirius XM for Plaintiffs’ car radio subscription, billed monthly in all three

               statements.

           F. Flowers for Plaintiff’s girlfriend, bought from Peoples Flower Shop in

               Albuquerque on September 19, 2019.

           G. Plaintiff’s Defined Fitness bill for his personal gym use, billed on October 3,

               2019.

           H. Plaintiff’s personal cellphone with T Mobile, billed on August 26, 2019.

           I. Plaintiff’s ice cream purchases bought from the Paleta Bar in Albuquerque, NM

               on August 30, 2019.



1
    Shockwave, LLC is a self-defense company who does not incur business dining expenses.

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         J. A monthly State Farm Insurance for Plaintiff’s personal vehicles found in all

             three statements.

         In fact, a review of the Credit Card Account demonstrates that most of the expenses

were consumer expenses for Michael Johnson personally. Very few are for Shockwave

Defense, LLC, such as for Shockwave’s Zoom calls ($32.34 monthly), their Facebook and

Google ads (totaling to $51.05 in the month of August, 2019), and their Godaddy website

hosting ($15.74 per month). These expenses are a fraction of the total expenses on the

Credit Card Accounts debt.

         There is no case law to provide guidance as to what a joint account between a

consumer and a business falls in with respect to the consumer protections found in TILA.

Plaintiff argues that, because he is a consumer whose name appears on both the Credit Card

Account and the Deposit Account, the consumer protections under TILA trigger and apply

to the entirety of the account. This may be a case of first impression for the Court.

Furthermore, because most of the expenses on the Credit Card Account are Michael

Johnson’s personal expenses, the card is far more of a consumer credit card transaction

than a business transaction.

         Plaintiff cites no authority that is on point to prove its claim that the Credit Card

Account is definitively exempt from the protections of TILA, because there is none.

Plaintiff cites to Selman v. Manor Mortg. Co., 551 F.Supp.345, maintaining that the

holding of the case is a dismissal of Section 1666h TILA claim where account at issue was

owned by limited liability company.2 The instant matter is distinguishable from the Selman

2
 The holding as described by Defendant is partially incorrect in that it was not a limited liability company,
but a corporation that owned the account. The corporation is Stewart R. Selman and Marjorie A. Selman,
Inc.

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case. The Selman case concerns two individuals who sought a loan for apparent personal

purposes from Manor, who is in the business of arranging loans between prospective

borrowers and lenders. However, because of usury laws in Michigan, the Selmans’ loan

was calculated at a rate greater than the maximum permissible 7% interest rate, but

corporations could agree to a higher rate. As part of the loan agreement with Manor, the

Selmans agreed to incorporate to avoid the 7% limit. The Selmans defaulted, and argued

that the incorporation condition of the loan is part of an illegal scheme to evade the usury

statute, and that the loan disclosure statements violated TILA. The Court found that the

Selman loan was a corporation in form, and therefore the Selmans do not state a claim

under TILA. The Court stated “[t]his is despite the fact that the Selman loan might well

have been a “consumer credit transaction” within the meaning of TILA. The Court found

that even if a loan may constitute a “consumer credit transaction” under § 1602(h) because

natural persons were offered credit and used it for personal purposes, so long as the credit

was actually “extended” to a corporation, TILA does not apply. Selman at 347-348.

       In the Selman case, the loan made to the Selmans was made solely to a corporation

founded by the Selmans. Here, the Defendant entered into a credit card agreement with

the Plaintiff individually, and with Shockwave Defense, LLC. Therefore, an individual is

involved in this matter where only a corporation is involved in the Selman case.

       Lastly, if the Defendant’s arguments are true, then the Defendant should have raised

the argument that Plaintiff Michael Johnson, individually does not have standing to bring

this TILA action against the Defendant, which Defendant did not do. If the Credit Card

Account belongs solely to an LLC, then Michael Johnson individually could not have

standing to bring an action with respect to the Credit Card Account. That is, of course, not

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the case. Michael Johnson, individually, has standing because his name is on the credit

card and the account. This is prima facie evidence that the account belongs jointly to a

consumer and a natural person.

       Defendant’s secondary argument is that, even if TILA applies, Plaintiff’s claim still

fails because he consented to Defendant’s security interest in his deposit account. This

argument defies the plain language of TILA, which prohibits setoffs that were not

consented to by a credit plan. 15 U.S.C. § 1666h. Section 1666h states in pertinent part:

   (a) Offset against consumer’s funds
       A card issuer may not take any action to offset a cardholder’s indebtedness arising
       in connection with a consumer credit transaction under the relevant credit card plan
       against funds of the cardholder held on deposit with the card issuer unless—
(1)
such action was previously authorized in writing by the cardholder in accordance with a
credit plan whereby the cardholder agrees periodically to pay debts incurred in his open
end credit account by permitting the card issuer periodically to deduct all or a portion of
such debt from the cardholder’s deposit account, and
(2)
such action with respect to any outstanding disputed amount not be taken by the card issuer
upon request of the cardholder.

       The statute precludes any agreements to offset debt during the initial agreement for

credit card debt. Instead, the statute requires that the cardholder authorize in writing such

an offset in accordance with a credit plan. This would only occur after the cardholder has

missed payments or otherwise defaulted on the loan. The statute is worded in this way to

protect consumers from banks and other lenders who will absolutely place offset

agreements in every consumer’s credit card contract as a matter of adhesion, effectively

making the consumer TILA protections against offsets a dead letter.

       Therefore, any agreements that Plaintiff may have made with Defendant that

included boilerplate language authorizing offsets is null and void under Section 1666h.


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Defendant cannot evade the consumer protections of TILA with simple boiler plate

language in the initial agreements of a credit card account.

          II.    Plaintiff’s Unfair or Deceptive Trade Practice Claim Stands

Defendant argues that Plaintiff’s Unfair or Deceptive Trade Practices does not apply to a

private litigant, and is duplicative. NMSA § 57-12-10 specifically allow private persons

likely to be damaged, and include private remedies. New Mexico’s Unfair or Deceptive

Trade Practices Laws protects consumers from deceptive practices, such as the unilateral

act of withdrawing $35,000 from a consumer’s deposit account to offset an alleged credit

card debt. The claim may arise out of the same transaction, but are not duplicative.

Defendant’s actions constitute a separate cause of unfair or deceptive trade practices when

Defendant essentially converted Plaintiff’s funds in his Deposit Account to pay themselves.

          III.   The Request for Declaratory Relief Does Not Fail as a Matter of Law

          Defendant argues that, because Plaintiff argues the offset had occurred some time

in the past, declaratory relief cannot apply in this matter. However, Defendant fails to take

into account that there is nothing stopping Defendant from performing similar offsets upon

Plaintiff at any time in the future. That is not merely hypothetical, as Plaintiff is effectively

unable to bank with Defendant for the rest of his life unless this matter is resolved by the

Courts.

          IV.    Plaintiff’s Request for Injunctive Relief is Proper

          Defendant argues that Plaintiff’s request for injunctive relief fails for the same

reason as his request for declaratory relief fails: that Plaintiff does not plausibly allege

Defendant’s continuing violation, or threatened future violation, of any applicable statute

or standard. Nothing could be further from the truth. Plaintiff still had active accounts


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with Defendant at the time of the filing of this suit. Again, nothing is stopping Defendant

from committing further offsets against Plaintiff without relief from the court.3

         V.       Plaintiff’s New Mexico Unfair Practices Act Are Proper

         Defendant argues that Plaintiff’s New Mexico Unfair Practices Act (“UPA”) claim

fails as a matter of law because Plaintiff cites to none of the nineteen unfair or deceptive

trade practices enumerated by the UPA, and that Plaintiff’s allegations are conclusory and

without merit. The Defendant claims that the Plaintiff failed to cite a UPA claim that is

based upon a misrepresenting or false statement which was knowingly made. Plaintiff’s

Complaint adequately claims Defendant’s UPA violation: “[t]he Defendant’s use of a

standard form agreement which states that it has the right to make withdrawals from deposit

accounts for credit card debts is false and misleading.” Defendant, who is a sophisticate

actor, knew or should have known that a standard form boiler plate contract that contains

an offset provision is legally impermissible pursuant to the TILA consumer protections,

but included the agreement anyway. Therefore, the Defendant knowingly made a false

representation regarding the offsetting in its standard form agreements, and continues to




3
 Plaintiff has closed, or is in the process of closing, his accounts with Defendant since the filing of this
suit. However, Plaintiff may wish to bank with the Defendant in the future, and cannot safely do so
without the Court’s intervention via declaratory and injunctive relief.

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misrepresent that it is permitted to offset Plaintiff’s accounts. Plaintiff’s UPA claim states

a claim upon which relief can be granted.

                                      CONCLUSION

       For all the reasons stated herein Plaintiff maintains that the Motion to Dismiss

should be denied. This Court should not dismiss the instant matter and the case should be

permitted to proceed.




                                                        Respectfully submitted,

                                                        _________________________
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                             CERTIFICATE OF SERVICE

       Mark Regazzi, counsel for Plaintiff, hereby certifies that a true and correct copy of
the foregoing was sent to Spencer Edelman, Esq., counsel for the Defendant, via the
CM/ECF system on this 16th day of May, 2021.




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